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   VIA CM/ECF                                        December 22, 2020

   The Honorable Christopher J. Burke
   United States District Court
     for the District of Delaware
   844 N. King Street
   Wilmington, DE 19801

         Re: Par Pharmaceutical, Inc., et al. v. Amneal Pharmaceuticals of New York, LLC, et al.
             C.A. No. 18-2032-CFC (Consolidated)

   Dear Magistrate Judge Burke:

           The parties in the above-referenced matter write to request the scheduling of a discovery
   teleconference. Because this case is scheduled for trial beginning on January 11, 2021, the
   parties respectfully request that the Court set a hearing on this dispute at its earliest possible
   convenience.

         The following attorneys, including at least one Delaware Counsel and at least one Lead
   Counsel per party, participated in a verbal meet-and-confer by telephone on December 21, 2020:

         Delaware Counsel: Brian Farnan for Plaintiffs and Anne Gaza and Robert Vrana for
   Defendant Amneal

           Lead Counsel: Robert Rhoad, Jonathan Loeb, Blake Greene, and Brian Goldberg for
   Plaintiffs and Huiya Wu, and Shaobo Zhu for Defendant Amneal

              The dispute requiring judicial attention is listed below:

              1.     Amneal’s request to strike certain opinions from the Supplemental Opening
                     Expert Report of Lee E. Kirsch.


                                                            Respectfully,

                                                            /s/ Anne Shea Gaza

                                                            Anne Shea Gaza (No. 4093)

   cc: All Counsel of Record (via electronic mail & CM/ECF)
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